

DJP Dev., LLC v Macerich Niagara, LLC (2025 NY Slip Op 02499)





DJP Dev., LLC v Macerich Niagara, LLC


2025 NY Slip Op 02499


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, GREENWOOD, AND KEANE, JJ.


314 CA 24-00127

[*1]DJP DEVELOPMENT, LLC, PLAINTIFF-RESPONDENT,
vMACERICH NIAGARA, LLC, DEFENDANT-APPELLANT, ET AL., DEFENDANTS. (APPEAL NO. 1.) 






MAGAVERN MAGAVERN GRIMM LLP, BUFFALO (EDWARD J. MARKARIAN OF COUNSEL), FOR DEFENDANT-APPELLANT.
PHILLIPS LYTLE LLP, ROCHESTER (CHAD W. FLANSBURG OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order and judgment (one paper) of the Supreme Court, Niagara County (Emilio Colaiacovo, J.), entered December 5, 2023. The order and judgment, inter alia, awarded plaintiff money damages against defendant Macerich Niagara, LLC. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on April 3, 2025,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








